                          UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION


RICHARD HANSON,                                )
                                               )
Plaintiff,                                     )
                                               )
v.                                             )          Case No. 3:18-cv-00524
                                               )          Judge Aleta A. Trauger
JOHN MCBRIDE and JAM                           )
PRODUCTIONS d/b/a BLACKBIRD                    )
STUDIOS,                                       )
                                               )
Defendants.                                    )

                                           ORDER

        For the reasons explained in the accompanying Memorandum, Richard Hanson’s Motion

for Liquidated Damages [or] Prejudgment Interest (Doc. No. 88) is hereby GRANTED in part

and DENIED in part. Hanson’s Motion for Attorney’s Fees (Doc. No. 91) is GRANTED and

the defendants are ORDERED to pay Hanson attorney’s fees in the amount of $194,987.50, plus

postjudgment interest. The Judgment of February 14, 2020 (Doc. No. 85) is hereby AMENDED

as follows: Hanson is entitled to prejudgment interest in the amount of $3,984.63. The Judgment

is otherwise unchanged.

        It is so ORDERED.



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                                                          ALETA A. TRAUGER
                                                          United States District Judge




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